    Case 19-27340-ABA                Doc 31       Filed 09/16/20 Entered 09/16/20 08:04:17           Desc Main
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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-1(b)


    Denise Carlon, Esquire
    KML Law Group, P.C.
                                                                               Order Filed on September 16, 2020
    216 Haddon Avenue, Suite 406
                                                                               by Clerk
    Westmont, NJ 08108                                                         U.S. Bankruptcy Court
    Main Phone: 609-250-0700                                                   District of New Jersey
    dcarlon@kmllawgroup.com
    Attorneys for Secured Creditor
    Specialized Loan Servicing, LLC                                       19-27340
                                                                  Case No.: xxxxxx
                                                                            18-12192 ABA
    In Re:
             Marie A. O’Donnell                                   Adv. No.:

                                                                  Hearing Date: 9/15/2020 @ 10:00 A.M.
    Debtors.
                                                                  Judge: Andrew B. Altenburg, Jr.


          ORDER CURING POST-PETITION ARREARS & RESOLVING MOTION FOR
                              RELIEF FROM STAY

         The relief set forth on the following pages, numbered two (2) through two (2) is hereby
    ORDERED.




DATED: September 16, 2020
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(Page 2)
Debtors: Marie A. O’Donnell
Case No: 19-27340 ABA
Caption of Order: ORDER CURING POST-PETITION ARREARS AND RESOLVING MOTION FOR
RELIEF FROM STAY
_________________________________________________________________________________
       This matter having been brought before the Court by KML Law Group, P.C., attorneys for Secured
Creditor, Specialized Loan Servicing, LLC, Denise Carlon appearing, upon a motion to vacate the automatic
stay as to real property located at 204 W Linden Avenue, Lindenwold, NJ 08021, and it appearing that notice
of said motion was properly served upon all parties concerned, and this Court having considered the
representations of attorneys for Secured Creditor and Thomas G. Egner, Esquire, attorney for Debtor, and for
good cause having been shown
        It is ORDERED, ADJUDGED and DECREED that as of September 4, 2020, Debtor is due for the
June 2020 through September 2020 post-petition payment for a total default of $5,351.17 ( 4 @ $1,435.87,
$392.31 less suspense); and
        It is ORDERED, ADJUDGED and DECREED that Debtor shall make an immediate payment of
$5,351.17 to be received immediately; and
        It is further ORDERED, ADJUDGED and DECREED that regular mortgage payments are to
resume October 1, 2020, directly to Secured Creditor’s servicer, Specialized Loan Servicing, LLC, P.O. Box
636007, Littleton, Colorado 80163 (Note: the amount of the monthly mortgage payment is subject to change
according to the terms of the note and mortgage); and
        It is further ORDERED, ADJUDGED and DECREED that for the Duration of Debtor’s Chapter
13 bankruptcy proceeding, if any of the cure payments or regular monthly mortgage payments are not made
within thirty (30) days of the date said payment is due, Secured Creditor may obtain an Order Vacating
Automatic Stay as to Real Property by submitting a Certification of Default to the Court indicating such
payment is more than thirty days late, and Debtor shall have fourteen days to respond; and
        It is further ORDERED, ADJUDGED and DECREED that a copy of any such application,
supporting certification, and proposed Order must be served on the Trustee, Debtor, and Debtor’s counsel at
the time of submission to the Court; and
         It is further ORDERED, ADJUDGED and DECREED that Secured Creditor is hereby awarded
reimbursement of fees and costs in the sum of $350.00 for attorneys’ fees and $181.00 for filing fees, totaling
$531.00, which is to be paid through Debtor’s Chapter 13 plan and the motion is hereby resolved.
